                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE




 UNITED STATES OF AMERICA,                              )
                                                        )
 v.                                                     )      No. 3:05-CR-128
                                                        )      (Phillips)
 HOWARD HICKMAN                                         )



                                         ORDER



              Defendant’s motion for authorization to obtain medical records relating to his

 medical treatment while in the custody of the State of Tennessee [Doc. 154] is GRANTED.



                                          ENTER:



                                                 s/ Thomas W. Phillips
                                               United States District Judge




Case 3:05-cr-00128-RLJ-HBG       Document 158       Filed 07/18/06    Page 1 of 1    PageID
                                        #: 48
